Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 1 of 51



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                     Case No.: 19-20195-KING

 ORGANIZATION OF PROFESSIONAL
 AVICULTURISTS, INC.,

         Plaintiff,

         v.

 MARGARET EVERSON, in her official ca-
 pacity as Principal Deputy Director Exercising
 the Authority of the Director of U.S. Fish and
 Wildlife Service; and U.S. FISH AND WILD-
 LIFE SERVICE;

       Defendants.
 ______________________________________/

                           PLAINTIFF’S OPPOSITION TO
               DEFENDANT’S MOTION TO DISMISS COMPLAINT AS MOOT

         The plaintiff, Organization of Professional Aviculturists, Inc. (OPA), by and through un-

 dersigned counsel, files this opposition to Defendant’s Motion to Dismiss Complaint as Moot

 (D.E. 8), and in support thereof, states as follows:

                                            ARGUMENT

    I.        Whether the plaintiff has failed to exhaust administrative remedies as to the four
              requests that were satisfied before it filed suit is irrelevant to this case.

         In the complaint (D.E. 1), it was alleged that the plaintiffs had appealed four FOIA re-

 quests (FWS-2019-00157, FWS-2019-00158, FWS-2019-00160, and FWS-2019-00161) to

 which a response was received before this lawsuit was filed. However, as also stated in the

 plaintiff’s complaint, these requests are not being challenged in this lawsuit. (D.E. 1, at ¶53.)

 Therefore, whether or not they are exhausted is irrelevant to this lawsuit. These appeals were




                                                   1
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 2 of 51



 solely mentioned in the plaintiff’s complaint for the purpose of explaining the procedural history,

 and in anticipation of the possibility of an amended complaint in the future.

          That said, the defendants correctly state in their motion to dismiss (D.E. 8, at 7) that they

 have not received an appeal from the plaintiffs in relation to these four FOIA requests. Upon

 reading the defendants’ motion to dismiss, the plaintiff reviewed the appeals it had filed and dis-

 covered that they had been erroneously sent to FOIA.Appeal@sol.doi.gov. 1 Therefore, on April

 22, 2018, between 4:13 and 4:17 P.M., the administrative appeals were timely 2 submitted to the

 corrected address of FOIA.Appeals@sol.doi.gov.

          Although the appeals were not filed prior to the initiation of this lawsuit, they are cur-

 rently pending and should be decided no later than the period between May 20, and June 4, 2019.

 5 U.S.C. §552(a)(6)(ii). 3 As such, the plaintiff will seek leave to consolidate these FOIA appeals

 into this case, if necessary, when they have been administratively exhausted.

    II.      This case is not moot because the defendants have not adequately searched for
             responsive records relating to FOIA request #7, tracking number FWS-2019-
             00159, and FOIA request #2, tracking number FWS-2019-00156.

          The plaintiff’s case, as it relates to Request #7—Blue Fronted Amazon, tracking number

 FWS-2019-00159, and Request #2—CITES I Consortiums, tracking number FWS-2019-00156,

 is not moot, and the Court can and should retain jurisdiction over the entirety of these two FOIA


    1
      The plaintiff did not realize their error until reviewing the defendant’s motion to dismiss be-
 cause the government’s server did not return the originally submitted appeals as undeliverable
 and because the error was inconspicuous, specifically, the omission of an “s” from the email ad-
 dress.
    2
        Since the regulation states, “workdays” it is plaintiff’s position that there were no workdays
 from 12/22/2018 - 01/25/2019. However, even if the period in which federal funding had lapsed
 still constitutes workdays, the deadline for filing the administrative appeals would fall on April
 22, 2019, the day on which the appeals were filed. Thus, in either scenario, the plaintiff’s ap-
 peals are timely under 43 CFR §2.58(a).
    3
       The deadline for the agency response to the plaintiff’s appeals could be a tolled if a request
 for information is made by the agency. 5 U.S.C. §552(a)(6)(ii)(I).


                                                    2
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 3 of 51



 requests. Pollack v. Dep't of Justice, 49 F. 3d 115, 119 (CA4 1995). Nor is the plaintiff required

 to administratively appeal the outcome of these FOIA requests given that the answers to them

 were produced during litigation:

                  Once an agency fails to respond timely to a request, FOIA permits
                  the requester immediately to file an enforcement suit and author-
                  izes the district court to “retain jurisdiction and allow the agency
                  additional time to complete its review of the records,” assuming
                  that “exceptional circumstances exist and that the agency is exer-
                  cising due diligence in responding to the request.” 5 U.S.C. §
                  552(a)(6)(C).

 Id. Since this Court is statutorily authorized to retain jurisdiction over Requests #7 and #2, the

 plaintiff’s case is not moot because the defendants did not adequately search their records, as ex-

 plained below, for responsive records relating to request #7 and #2. Further, if the agency can

 meet its burden to establish exceptional circumstances, the Court may grant it additional time to

 complete its review while retaining jurisdiction over the matter.

         For an agency to have adequately searched it records, it must have made “a good faith ef-

 fort to conduct a search for the requested records.” Oglesby v. U.S. Dep't of Army, 920 F. 2d 57,

 68 (CADC 1990). The fundamental question is “whether the search for [responsive] documents

 was adequate.” Steinberg v. DOJ, 23 F. 3d 548, 551 (CADC 1994). This is a circumstance spe-

 cific question, asking whether the search was “tailored to the nature of the request.” Rugiero v.

 DOJ, 257 F. 3d 534, 547 (CA6 2001). A request is not reasonable if the agency interpretation of

 the request is too narrow. Charles v. Office of the Armed Forces Med. Exam'r, 730 F. Supp. 2d.

 205, 213 (D.D.C. 2010). In sum, the agency must conduct a search that is responsive to the spe-

 cific request.

         Further, to prove the adequacy of its search, the agency should rely on declarations which

 should be “relatively detailed and nonconclusory and submitted in good faith.” Ground Saucer




                                                   3
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 4 of 51



 Watch, Inc. v. CIA, 629 F. 2d 770, 771 (CADC 1981). The declarations must show that the

 search methods were reasonably calculated to uncover all relevant documents and must be ex-

 plained in sufficiently detailed descriptions. Compare Dolin, Thomas & Solomon LLP v. DOL,

 719 F. Supp. 2d 245, 255 (W.D.N.Y. 2010) (determining search was adequate where “DOL has

 attested to multiple thorough searches for responsive documents, describing in detail the scope of

 the search, and listing files and persons from whom information was sought.”); with Rodriguez v.

 McLeod, No. 08-0187, 2008 WL 5156653, at *4 (E.D. Cal. Dec. 9, 2008) (holding that agency’s

 declaration was conclusory and failed to provide descriptions of files searched and search proce-

 dures).

           The burden is on the agency to demonstrate the adequacy of its search. “[S]imply stating

 that ‘any and all records’ were searched is insufficient.” Bennett v. DEA, 55 F. Supp. 2d 36, 40

 (D.D.C. 1999). If the agency can overcome this burden, then it is on the plaintiff to demonstrate

 that the search was not made in good faith. Maynard v. CIA, 986 F. 2d 547 (CA1 1993).

              a) The defendants have not adequately searched their records for responsive
                 documents relating to the plaintiff’s Request #7—Blue Fronted Amazon,
                 tracking number FWS-2019-00159.

           On October 18, 2018, the plaintiff filed a FOIA request stating as follows: “The OPA re-

 quest all information relating to the attempt by the Argentinian CITES authority to petition the

 USFWS to allow for sustainable import of blue front amazon.” On November 19, 2018, Ms.

 Brenda Tapia, an agent of the defendant, contacted the plaintiffs to inform that:

                  This request is very broad and the search results will be volumi-
                  nous. It could take an estimated 8 months to complete since we
                  may need to go to the off site storage facility to retrieve numerous
                  boxes, which would then have to be reviewed by hand. We would
                  suggest that you narrow the scope to a more specific timeframe,
                  such as the past two years. The cost of processing this request will
                  be more than the $100 you have indicated you are willing to pay.




                                                   4
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 5 of 51



 (D.E. 1-2, at 35-39) (Compl. Appx., Exh. L). At this prompting the plaintiff narrowed its request

 as follows:

                The OPA request all information relating to the attempt by the Ar-
                gentinian CITES authority to petition the USFWS to allow for sus-
                tainable import of blue front amazon.

                The OPA is specifically requesting information as to why the final
                proposed rule relating to the listing of wild harvested Blue Fronted
                Amazons published in the Federal Register at 68 FR 46559 on Au-
                gust 6, 2003 was never finalized or issued. And why it was ulti-
                mately withdrawn on December 21, 2015, 80 FR 79300.

                The OPA's request is limited to all non-publicly available infor-
                mation relating to this issue. This includes internal communica-
                tions between the relevant USFWS employees that resulted in a de-
                cision to not issue the final rule. As well as communications and
                negotiations between USFWS and the Argentinian Management
                Authorities.

 (D.E. 1-2, at 43) (Compl. Appx., Exh. N). This narrowed request specifically referenced

 the fact that the Argentinian request was first publicized in August 6, 2003, and ulti-

 mately withdrawn on December 21, 2015, over twelve years later. However, the Argen-

 tinian action was brought under 16 U.S.C. §4909, which statutorily requires a decision

 from the agency within two hundred and forty days.

        The plaintiff requested any internal communications that resulted in the decision

 to not issue the final rule under §4909. Therefore, the plaintiff’s request must be properly

 construed as requesting documents that explain the details of this excessive delay and ul-

 timate lack on decision, in contravention of the clearly established statutory timeline.

 Nation Magazine v. U.S. Customs Serv., 71 F. 3d 885, 890 (CADC 1995) (An agency

 must “construe a FOIA request liberally.”). This request should not have been difficult

 even though the Argentinian petition was originally filed in 2003. The Argentinian peti-

 tion was not ultimately closed until December 15, 2015, only two years and nine months



                                                  5
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 6 of 51



 prior to the plaintiff’s FOIA request. The documents relating to this petition are not the

 sort of records that should be difficult to find on account of age.

          On March 12, 2019, after the commencement of this litigation, and seventy-six workdays

 after the filing of the original request, 4 the defendants’ produced seven pages of documents. The

 released documents amounted to:

             1) A two-page undated document by Roddy R. Gabel, Chief of Division of Manage-

                 ment Authority, which requested information from the Argentinian government

                 relating to Proyecto Ele 5 which had been pending for over 10 years before the

                 USFWS. The letter stated, without explanation, that USFWS could neither ap-

                 prove nor deny the request. It further stated that because the request had been

                 pending for 10 years, that the USFWS was likely to deny the request, and sug-

                 gested that the Argentinians withdraw the request before it was denied.

             2) A one-page document dated October 24, 2014, in Spanish from the Argentinian

                 government.

             3) A one-page paraphrased translation of the previous document which stated that,

                 based on Mr. Gabel’s letter, that the request was being withdrawn.

             4) A three-page publicly available print out from the Federal Register’s website

                 which outlined the timeline for Argentinian’s request, and stated that because the

                 USFWS did not think they would be able to approve the request, it was recom-

                 mended that the request be withdrawn.

 This was the totality of the records released by the USFWS in relation to the plaintiff’s request.


    4
        This calculation excludes the period during which federal funding had lapsed.
    5
      Proyecto Ele is the name given to the program by the Argentinian CITES authority to sus-
 tainably export wild-caught Blue Fronted Amazons to the United States.


                                                   6
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 7 of 51



         It appears that the defendants interpreted the plaintiff’s narrowed FOIA request as liter-

 ally asking for the closing documents in the file. However, in requesting information as to why

 the request was never finalized, and the communications relating to the decision to never issue a

 final rule, it is clear that the plaintiff was requesting more than the file’s closing letters. It ap-

 pears that the defendants have chosen to purposefully interpret the plaintiff’s request in an exces-

 sively narrow fashion to avoid its obligation to disclose under the FOIA. An agency must con-

 sider the nature of each request, and give a reasonable interpretation of its terms and overall con-

 tent. LaCedra v. Executive Office for U.S. Attorneys, 317 F. 3d 345 (CADC 2003). To not do so

 would constitute a failure to make “a good faith effort to conduct a search for the requested rec-

 ords,” Oglesby, 920 F. 2d, at 68, as has occurred here.

         Upon reviewing these documents, the plaintiff contacted Mr. Roddy R. Gabel, former

 Chief of Division of Management Authority, and author of one of the provided documents, to re-

 quest his input on the released records. Mr. Gabel informed the plaintiff’s agent that he had

 worked on the Argentinian Blue Fronted Amazon petition, Proyecto Ele. He also informed the

 plaintiff’s agent that the issue was concern over “double-dipping,” which refers to the practice of

 removing offspring from the same nest site multiple times in one breeding season, and that this

 resulted in protracted negotiation between USFWS and the Argentinian government. To Mr.

 Gabel’s recollection, the records of this request were sent to “archives or storage.” Exh. A. Un-

 fortunately, Mr. Gabel could only provide the plaintiff his recollections, because the records had

 remained with the USFWS at the end of his tenure.

         The seven pages of documents released to the plaintiff included no reference to double-

 dipping, or the protracted negotiations mentioned by Mr. Gabel. Records of such issues would

 have been responsive to the plaintiff’s narrowed FOIA request. Further, the defendants were




                                                     7
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 8 of 51



 aware of these records because in Ms. Tapia’s November 19, 2018, e-mail correspondence with

 the plaintiff, she stated “we may need to go to the off site storage facility to retrieve numerous

 boxes, which would then have to be reviewed by hand.” (D.E. 1-2, at 38) (Compl. Appx., Exh.

 L).

         However, in the defendants’ Declaration of Cathy Willis, there is no reference to review-

 ing the offsite storage records. The declaration includes the conclusory statement, “the subject

 matter expert searched all of WTCB’s WBCA records in all forms available to the subject matter

 expert.” (D.E. 8-1, at 5.) Yet, the endeavors of this unnamed subject-matter expert yielded only

 a publicly available Federal Register Notice, and a single e-mail by Roddy Gabel. (D.E. 8-1 at,

 5-6.) The search detailed in this declaration does not meet the defendants’ burden of establishing

 that the search for responsive documents was adequate. Further, the declaration does not state

 why the defendants failed to review the offsite documents referenced by Ms. Tapia, nor does it

 explain why only a single preserved e-mail of Mr. Gabel was searched, and not those of his sub-

 ordinates who would theoretically have managed the daily tasks related to this request—or the e-

 mails of anyone that would have worked on such a large project.

        The statements provided by the agency can only be described as conclusory, and lacking

 in detail. While the defendants’ do not need to provide every single responsive document, the

 statements of Mr. Roddy R. Gabel, former Chief of Division of Management Authority, and Ms.

 Brenda Tapia, in conjunction demonstrate that a large cache of likely responsive documents exist

 which do not appear to have been searched by the defendants. Even if when the defendant’s

 statements are given the most optimistic reading, they do not establish that the USFWS has met

 its burden.




                                                   8
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 9 of 51



         Therefore, respectfully, the search conducted by the defendants, after being prompted to

 action by this lawsuit, are far from adequate, and still in need of resolution through this litigation.

             b) The defendants have not adequately searched their records for responsive
                documents relating to the plaintiff’s Request #2—CITES I Consortiums,
                FWS-2019-00156.

         On October 18, 2018, the plaintiff filed a FOIA request stating as follows: “1) The OPA

 is also requesting all information, relating to the approval of permits for consortium/cooperative

 breeding agreements. 1a) This includes but is not limited to all information, relating to the ap-

 proval of permits of consortium/cooperative breeding agreements of CITES appendix 1 listed

 species.” On November 19, 2018, Ms. Brenda Tapia, an agent of the defendant, contacted the

 plaintiffs to inform that:

                 This is a very broad request. We estimate that it would take 4
                 months or longer to process. Suggestions to narrow: Are you look-
                 ing for the looking for cooperate breeding agreements that are cur-
                 rent and not expired? Would a spreadsheet be acceptable? Would
                 the agreement letter be acceptable? What species are you looking
                 for? What timeframe are you looking for? If you can narrow the
                 scope and clarify, this request may be completed in a shorter time
                 frame of estimated 2 months. The cost of this request as written
                 will also be more than $100 per what you are willing to pay.

 (D.E. 1-2, at 35-39) (Compl. Appx., Exh. L).

         At this prompting the plaintiff’s narrowed their request as follows:

            1)   The OPA is also requesting all information, relating to the approval of per-
                 mits for consortium/cooperative breeding agreements.

            1a) This includes but is not limited to all information, relating to the approval
                of permits of consortium/cooperative breeding agreements of CITES ap-
                pendix 1 listed species."

                 The OPA will limit its requests to the time period since 10/05/2016 -
                 11/01/2018. Agreement letters would be acceptable. A spreadsheet would
                 also be acceptable if it lists all submitted requests and their outcomes
                 within the proposed period, as well as processing times. The OPA would
                 also like to know whether the cooperative breeding agreements ultimately



                                                   9
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 10 of 51



                   approved by the Service resulted from negotiated agreements or were ap-
                   proved as submitted. Also requested are any non-publically [(sic)] availa-
                   ble guidance related to how the Service decides to approve such agree-
                   ments. The information requested is limited to agreements for approval of
                   CITES Appendix 1 species.

  (D.E. 1-2, at 42-44) (Appx., Exh. N) (emphasis added).

            On March 4, 2019, after the commencement of this litigation and seventy-four workdays

  after the filing of the original request, 6 the defendants’ produced twenty-nine pages of documents

  which included a series of approval and renewal requests for cooperative breeding agreements

  for CITES Appendix 1 species. However, none of the responsive documents included any infor-

  mation relating to whether the approved agreements were negotiated with the relevant parties by

  the USFWS, nor was there any guidance relating to the granting of these cooperative breeding

  agreements provided. In the defendant’s Declaration of Cathy Willis, it is stated that:

            The subject matter expert searched the International Affairs shared electronic
            folders, which house the relevant program information (DMA program folders,
            cooperative breeding program folder, which contains all cooperative breeding
            programs approved for Appendix-I species). The subject matter expert searched
            all of WTCB’s WBCA Appendix I records in all forms available to the subject
            matter expert.

  (D.E. 8-1, at 6.)

            Again, an unnamed subject matter expert searched “all forms available.” This lacks spec-

  ificity which denies the Court the ability to review the adequacy of this search, and fails to meet

  the governments burden. An additional issue with the adequacy of the search is the failure of

  agency to state the particular search terms used. Again, the Court has no ability to review the ad-

  equacy of the search conducted by the agency in this case.




      6
          This calculation excludes the period during which federal funding had lapsed.


                                                   10
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 11 of 51



            However, the clearest evidence of a lack of adequate search is the fact that the defendants

  did not search the emails of Laura Noguchi, Eleanora Babij, Ph.D., or of Monica A. Horton, the

  USFWS officers who are listed as approving the provided documents. Exh. B. As the approving

  officers, their e-mails are the most likely location to discover information relating to negotiated

  settlements, as well as the e-mails of their direct subordinates.

            The plaintiffs have requested this information because they are currently involved in the

  solicitation for a new cooperative breeding program (CBP) for an Appendix I species from the

  USFWS. Understanding the full details on how USFWS adjudicates such applications, and

  whether negotiation is involved, is therefore essential to the plaintiffs.

     III.      The plaintiff is concedes the mootness of Request #3, FWS-2019-00162, Request
               #4, FWS-2019-00163, and Request #5, FWS-2019-00443, if the defendants con-
               cede that they are not entitled to Chevron or Auer/Seminole Rock deference in
               any future litigation with the plaintiff were the WBCA and CITES is at issue.

            The defendants’ in the Declaration of Cathy Willis, given under penalty of perjury under

  28 U.S.C. §1746, stated that:

                   With regard to request FWS-2019-00443, which sought records
                   regarding “[FWS’s] interpretation of its obligations under
                   WBCA”. . . that DMA does not have any written internal docu-
                   ments concerning its interpretation and obligations under the
                   WBCA, as DMA follows the WBCA and CFR regulations for the
                   issuance of permits under the WBCA.

  (D.E. 8-1, at 8.) The defendants similarly stated that:

                   With regard to request FWS-2019-00163, which sought “all inter-
                   nal documents, memoranda, policy manuals, guidance, training
                   manuals, etc. relating to the approval of permits for import or ex-
                   port of exotic avian species into or out of the United States,” the
                   DMA provided the Internet URL address for 50 CFR 15 regula-
                   tions, which are the regulations that implement the WBCA. Ac-
                   cording to the Chief of DMA’s Branch of Permits, DMA does not
                   have any internal documents, memoranda, policy manuals, guid-
                   ance, or training manuals, relating to the approval of permits for
                   import or export of exotic avian species into or from the United



                                                    11
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 12 of 51



                     States. The DMA implements the WBCA according to the lan-
                     guage of the Act of 1992 and the regulations of 50 CFR Wildlife
                     and Fisheries, Part 15: Wild Bird Conservation Act to determine
                     and guide the process and approval of WBCA permit.

  (D.E. 8-1, at 7.) The defendants likewise declared that in relation to,

                     Request FWS-2019-00162 [which] the requester narrowed/clari-
                     fied the request to “The OPA limits its requests to guidance for ap-
                     proving the export of CITES-listed avian species from the U.S. un-
                     der the Personal Pet exemption. Specifically, what criteria are
                     used by the Service to determine whether an export is ‘commer-
                     cial.’ ” Ms. Tapia discussed the narrowed request with the subject
                     matter expert, the Chief of DMA’s Branch of Permits, who indi-
                     cated that “DMA follows applicable law/treaty/regulation for ap-
                     proving export of CITES-listed avian species, including the CITES
                     implementing regulations at 50 CFR part 23.”

 (D.E. 8-1, at 7.)

          The plaintiff understands the defendants’ position to be that it applies Wild Bird Conser-

 vation Act, 16 USC §§4901-4916, and the related obligations under the Convention on Interna-

 tional Trade in Endangered Species of Wild Fauna and Flora (CITES), based on the plain language

 of the statute, treaty, and/or regulations. This response also seems to suggest that the agency has

 determined that Congress has left no gaps in its statutes, and that the agency has left no gaps in its

 regulations, that have not yet been interpreted in a manner that carries with it the force of law.

          The plaintiff’s purpose in soliciting these particular FOIA requests was an attempt to un-

 derstand the potential level, and form of deference that the USFWS would claim in future potential

 litigation relating to these sources of law. Therefore, the plaintiff is willing to concede as moot

 these FOIA requests, if the defendants’ affirmatively state that, in any future litigation against

 plaintiff, that the USFWS will claim nothing more than Skidmore deference to its interpretations

 of: (1) the WBCA where not interpreted by binding regulations; (2) the CITES where not inter-

 preted by regulations; and (3) its interpretation of the relevant regulations. Stated inversely, the




                                                     12
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 13 of 51



 USFWS appears to be disclaiming Chevron deference to its interpretations relating to these provi-

 sions of law, where not interpreted by the regulation, and is disclaiming Auer and Seminole Rock

 deference to its interpretation of its relevant regulations. This is the implicit deduction made from

 a reading of the defendants’ declaration.

          If the defendants refuse to concede this position, then the plaintiff asserts that the agency

 has failed to perform an adequate search in response to these three requests. That is because, if the

 agency claims that it has interpretations of the treaty, the statute, or of its own regulations that

 would merit something more than Skidmore deference, that would necessarily imply that there are

 additional responsive records that the agency is aware of, and has refused to produce. If that is the

 case, the agency has not responded to these three requests in good faith, and it has therefore failed

 to perform an adequate search in violation of law—and perhaps perjurously so.

                                               Conclusion

          Based on the foregoing, the plaintiff requests that the Court dismiss the defendant’s mo-

 tion to dismiss as moot.

                                                          s/ Mark Andrew Prada
                                                          MARK ANDREW PRADA
                                                          Fla. Bar No. 91997
                                                          Prada Urizar, PLLC
                                                          3191 Coral Way, Suite 607
                                                          Miami, FL 33145
                                                          Dir.: (786) 238-2222
                                                          Ofc.: (786) 703-2061
                                                          Fax: (786) 708-9508
                                                          mprada@pradaurizar.com

  April 30, 2019                                          Counsel for Plaintiff




                                                     13
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 14 of 51



                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on April 30, 2019, I electronically filed the foregoing with the

  Clerk of the Court using the CM/ECF system which will send notification of such filing to the

  following:


  Carlos Raurell
  Assistant United States Attorney
  Florida Bar No. 529893
  99 N.E. 4th Street, Suite 300
  Miami, Florida 33132
  Tel.: 305.961.9243 / Fax: 305.530.7139
  Email: Carlos.Raurell@usdoj.gov


                                                     s/ Mark Andrew Prada
                                                     MARK ANDREW PRADA
                                                     Fla. Bar No. 91997
                                                     Prada Urizar, PLLC
                                                     3191 Coral Way, Suite 607
                                                     Miami, FL 33145
                                                     Dir.: (786) 238-2222
                                                     Ofc.: (786) 703-2061
                                                     Fax: (786) 708-9508
                                                     mprada@pradaurizar.com

  April 30, 2019                                     Counsel for Plaintiff




                                                14
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 15 of 51




                     Exhibit A
4/30/2019
        Case   1:19-cv-20195-JLK Prada Urizar, PLLC
                                  Document        9 Mail - David Garcia
                                                     Entered            Organization
                                                                  on FLSD            of Professional
                                                                                Docket               AviculturistsPage 16 of 51
                                                                                             04/30/2019


                                                                                        David Garcia <dgarcia@pradaurizar.com>



  David Garcia Organization of Professional Aviculturists
  5 messages

  David Garcia <dgarcia@pradaurizar.com>                                                              Thu, Mar 21, 2019 at 11:58 AM
  To: Former_Zygote@hotmail.com

    Hello Mr. Gabbel,

    My name is David Garcia and I am with the Organization of Professional Aviculturists. I received your email address from
    John Aynes who is on our Board, he told me you might be willing to help with an issue I am having getting information
    from the USFWS relating to a project you worked on.

    The OPA is interested in understanding what happened with the proposed import plan of Blue Fronted Amazon's from
    Argentina under the WBCA.

    Idk how much information from your work you are allowed to discuss, but I was wondering if I could ask you some
    questions bout the topic?

    Thank you,
    David Garcia


    --
    Thank you,
    David A. Garcia
    Law Clerk




    3191 Coral Way, Suite 607 | Miami, Florida 33145
    T: (786) 703-2061 | F: (786) 708-9508 | D: (786) 238-2222
    www.pradaurizar.com


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  Roddy Gabel <former_zygote@hotmail.com>                                                              Thu, Mar 21, 2019 at 8:42 PM
  To: David Garcia <dgarcia@pradaurizar.com>

    Hi, David--I'd have to refresh my memory on all details because it's been so many years since I dealt with
    this, but my recollec on is that we could not get informa on from Argen na to assure us that they were
    not "double-dipping" on the harvest of juveniles. By this I mean that we were concerned that they could
    not provide assurance that the same popula on from which nestlings were taken from nest trees was



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4/30/2019
        Case     1:19-cv-20195-JLK Prada Urizar, PLLC
                                    Document        9 Mail - David Garcia
                                                       Entered            Organization
                                                                    on FLSD            of Professional
                                                                                  Docket               AviculturistsPage 17 of 51
                                                                                               04/30/2019
    From: David Garcia <dgarcia@pradaurizar.com>
    Sent: Thursday, March 21, 2019 11:58 AM
    To: Former_Zygote@hotmail.com
    Subject: David Garcia Organiza on of Professional Aviculturists

    [Quoted text hidden]



  Roddy Gabel <former_zygote@hotmail.com>                                                              Thu, Mar 21, 2019 at 8:58 PM
  To: David Garcia <dgarcia@pradaurizar.com>

    Sorry--message completed below.


    From: Roddy Gabel <former_zygote@hotmail.com>
    Sent: Thursday, March 21, 2019 8:42 PM
    To: David Garcia
    Subject: Re: David Garcia Organiza on of Professional Aviculturists

    Hi, David--I'd have to refresh my memory on all details because it's been so many years since I dealt with
    this, but my recollec on is that we could not get informa on from Argen na to assure us that they were
    not "double-dipping" on the harvest of juveniles. By this I mean that we were concerned that they could
    not provide assurance that the popula on from which nestlings were taken from nest trees was not the
    same popula on from which they also wanted to harvest juveniles from citrus-growing areas. If this was the
    case, they would have been over-harves ng young birds from the popula on. I don't remember all the
    details, but a er some back and forth, the Government of Argen na withdrew their request for approval of
    U.S. imports so that they could study the species further to try to address our concerns. You can ﬁnd where
    we withdrew the proposed rule at:

    https://www.fws.gov/policy/library/2015/2015-32054.html

    I hope this answers your ques ons.

    Regards,

    Roddy Gabel
    [Quoted text hidden]



  David Garcia <dgarcia@pradaurizar.com>                                                               Thu, Mar 21, 2019 at 9:30 PM
  To: Roddy Gabel <former_zygote@hotmail.com>

    Hey Mr. Gabbel, thank you that is very helpful.

    I actually filed a FOIA request on this topic and the Service stonewalled me, so I ended up filing a lawsuit after they told
    me it would take years to find the documents in the archives.

    Last week they “complied” with my foia by giving me a letter written by you telling Argentina that they should withdraw
    their application, but they provided nothing else.

    My goal is to go get the Service to release as much information as possible so I will be challenging the release in court to
    get more from them.

    Now I know I’m not wasting my time.

    Thank you

    Sent from my iPhone

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4/30/2019
        Case     1:19-cv-20195-JLK Prada Urizar, PLLC
                                    Document        9 Mail - David Garcia
                                                       Entered            Organization
                                                                    on FLSD            of Professional
                                                                                  Docket               AviculturistsPage 18 of 51
                                                                                               04/30/2019
    [Quoted text hidden]



  Roddy Gabel <former_zygote@hotmail.com>                                                             Thu, Mar 21, 2019 at 10:11 PM
  To: David Garcia <dgarcia@pradaurizar.com>

    David, just to let you know, they may have diﬃculty accessing the records because the agency moved
    oﬃces several years ago, and many of the records were sent to archives or storage somewhere. To
    complicate things, some of us who worked on this issue have since re red, and remaining staﬀ may not
    have much, if any, familiarity with it.

    You can ﬁnd other Federal Register documents pertaining to this by going to www.fws.gov and pu ng
    "blue-fronted amazon" in the search bar.

    Good luck!

    Roddy


    From: David Garcia <dgarcia@pradaurizar.com>
    Sent: Thursday, March 21, 2019 9:30 PM
    To: Roddy Gabel
    [Quoted text hidden]

    [Quoted text hidden]




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Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 19 of 51




                     Exhibit B
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 20 of 51

                           United States Department of the Interior
                                         FISH AND WILDLIFE SERVICE
                                                 5275 Leesburg Pike, MS: IA
 IN REPLY REFER TO:                                Falls Church, VA 22041
    FWS-2019-00159


                                                       March 4, 2019


David A. Garcia
Organization of Professional Aviculturist (OPA)
3191 Coral Way Suite 607
Miami, FL 33145
Email: dgarcia@pradaurizar.com

Dear Mr. Garcia:

This is the Division of Management Authority’s (DMA) final response to your Freedom of Information Act
(FOIA) request dated October 17, 2018 and received October 15, 2018, for the following information:

        “….1) The OPA is also requesting all information, relating to the approval of permits for
        consortium/cooperative breeding agreements.

        1a) This includes but is not limited to all information, relating to the approval of permits of
        consortium/cooperative breeding agreements of CITES appendix 1 listed species.”

Per the electronic email of November 19, 2018, you narrowed/clarified the request to “will limit its requests to the
time period since 10/05/2016 - 11/01/2018. Agreement letters would be acceptable. A spreadsheet would also be
acceptable if it lists all submitted requests and their outcomes within the proposed period, as well as processing
times. The OPA would also like to know whether the cooperative breeding agreements ultimately approved by the
Service resulted from negotiated agreements or were approved as submitted. Also requested are any non-
publically available guidance related to how the Service decides to approve such agreements. The information
requested is limited to agreements for approval of CITES Appendix 1 species.”

We have enclosed 29 pages of records responsive to your FOIA request, which we are releasing to you in part.
Portions of these materials are being withheld under FOIA Exemption 6; See 5 U.S.C. § 552 (b)(6).

Exemption 6 allows an agency to withhold “personnel and medical files and similar files the disclosure of which
would constitute a clearly unwarranted invasion of personal privacy.” 5 U.S.C. § 552(b)(6). We are withholding
4 pages in part under Exemption 6.

The phrase “similar files” covers any agency records containing information about a particular individual that can
be identified as applying to that individual. To determine whether releasing records containing information about
a particular individual would constitute a clearly unwarranted invasion of personal privacy, we are required to
balance the privacy interest that would be affected by disclosure against any public interest in the information.

Under the FOIA, the only relevant public interest to consider under the exemption is the extent to which the
information sought would shed light on an agency’s performance of its statutory duties or otherwise let citizens
know what their government is up to. The burden is on the requester to establish that disclosure would serve the
public interest. When the privacy interest at stake and the public interest in disclosure have been determined, the
two competing interests must be weighed against one another to determine which the greater result of disclosure
is: the harm to personal privacy or the benefit to the public. The purposes for which the request for information is
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 21 of 51


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made do not impact this balancing test, as a release of information requested under the FOIA constitutes a release
to the general public.

The information that has been withheld under Exemption 6 consists of personal information such as mailing street
addresses and zip codes; we have determined that the individuals to whom this information pertains have a
substantial privacy interest in withholding it. Additionally, you have not provided information that explains a
relevant public interest under the FOIA in the disclosure of this personal information and we have determined that
the disclosure of this information would shed little or no light on the performance of the agency’s statutory duties.
Because the harm to personal privacy is greater than whatever public interest may be served by disclosure, release
of the information would constitute a clearly unwarranted invasion of the privacy of these individuals and we are
withholding it under Exemption 6.

We reasonably foresee that disclosure would harm an interest protected by one or more of the nine exemptions to
the FOIA’s general rule of disclosure.

Carrie Hyde-Michaels, FWS FOIA Officer, is responsible for this partial denial. Larry Mellinger and Russell
Husen, Attorney-Advisors, in the Office of the Solicitor were consulted.

We do not bill requesters for FOIA processing fees when their fees are less than $50.00, because the cost of
collection would be greater than the fee collected. See 43 C.F.R. § 2.37(g). Therefore, there is no billable fee for
the processing of this request and there is no need for us to address your request for a fee waiver.

You may appeal this response to the U.S. Department of Interior’s (Department) FOIA/Privacy Act Appeals
Officer. If you choose to appeal, the FOIA/Privacy Act Appeals Officer must receive your FOIA appeal no later
than 90 workdays from the date of this letter. Appeals arriving or delivered after 5 p.m. Eastern Time, Monday
through Friday, will be deemed received on the next workday.

Your appeal must be made in writing. You may submit your appeal and accompanying materials to the
FOIA/Privacy Act Appeals Officer by mail, courier service, fax, or email. All communications concerning your
appeal should be clearly marked with the words: "FREEDOM OF INFORMATION APPEAL." You must
include an explanation of why you believe the U.S. Fish and Wildlife Service’s (USFWS) response is in error.
You must also include with your appeal copies of all correspondence between you and the USFWS concerning
your FOIA request, including your original FOIA request and the USFWS's response. Failure to include with
your appeal all correspondence between you and the USFWS will result in the Department's rejection of your
appeal, unless the FOIA/Privacy Act Appeals Officer determines (in the FOIA/Privacy Act Appeals Officer’s sole
discretion) that good cause exists to accept the defective appeal.

Please include your name and daytime telephone number (or the name and telephone number of an appropriate
contact), email address and fax number (if available) in case the FOIA/Privacy Act Appeals Officer needs
additional information or clarification of your appeal.

DOI FOIA/Privacy Act Appeals Office Contact Information
Department of the Interior
Office of the Solicitor
1849 C Street, N.W.
MS-6556 MIB
Washington, DC 20240
Attn: FOIA/Privacy Act Appeals Office

Telephone: (202) 208-5339
Fax: (202) 208-6677
Email: FOIA.Appeals@sol.doi.gov
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 22 of 51


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The 2007 FOIA amendments created the Office of Government Information Services (OGIS) to offer mediation
services to resolve disputes between FOIA requesters and Federal agencies as a non-exclusive alternative to
litigation. Using OGIS services does not affect your right to pursue litigation. You may contact OGIS in any of
the following ways:

Office of Government Information Services
National Archives and Records Administration
8601 Adelphi Road - OGIS
College Park, MD 20740-6001

E-mail: ogis@nara.gov
Web: https://ogis.archives.gov
Telephone: 202-741-5770
Fax: 202-741-5769
Toll-free: 1-877-684-6448

Please note that using OGIS services does not affect the timing of filing an appeal with the Department’s FOIA
and Privacy Act Appeals Officer. You may also seek dispute resolution services from our FOIA Public Liaison,
Carrie Hyde-Michaels at (703) 358-2291 or at Carrie_Hyde-Michaels@fws.gov.

For your information, Congress excluded three discrete categories of law enforcement and national security
records from the requirements of the FOIA. See 5 U.S.C. § 552(c). This response is limited to those records that
are subject to the requirements of the FOIA. This is a standard notification that is given to all our requesters and
should not be taken as an indication that excluded records do, or do not, exist.

This completes our response. If you have any questions, please contact Ms. Brenda Tapia, Division of
Management Authority, Branch of Permits, MS: IA, 5275 Leesburg Pike, Falls Church, Virginia 22041 (703-358-
1989 or via e-mail at Brenda_Tapia@fws.gov).

                                                          Sincerely,




                                                          Carrie Hyde-Michaels
                                                          FWS FOIA Officer

Attached
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 23 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 24 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 25 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 26 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 27 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 28 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 29 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 30 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 31 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 32 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 33 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 34 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 35 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 36 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 37 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 38 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 39 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 40 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 41 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 42 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 43 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 44 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 45 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 46 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 47 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 48 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 49 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 50 of 51
Case 1:19-cv-20195-JLK Document 9 Entered on FLSD Docket 04/30/2019 Page 51 of 51
